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In the United States Court of Federal Claims
                             OFFICE OF SPECIAL MASTERS

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DEBRA L. DUDA,             *
                           *
               Petitioner, *                       No. 19-31V
                           *                       Special Master Christian J. Moran
v.                         *
                           *                       Filed: February 12, 2021
SECRETARY OF HEALTH        *
AND HUMAN SERVICES,        *
                           *
               Respondent. *
*************************

                                          ORDER

        On February 12, 2021, the parties informally communicated that they would be available
for a hearing on March 18, 2021. The undersigned is available for a hearing that day so long as
the hearing concludes by 3:00 P.M. (Eastern Time).

       Accordingly, the following is ORDERED:

       1. A pre-hearing status conference is set for March 8, 2021, at 2:00 P.M. (Eastern
          Time).

       2. A hearing is set for Thursday, March 18, 2021, at 9:00 A.M. (Eastern Time). The
          hearing must conclude by 3:00 P.M. Petitioner should note the start and end times
          are in the eastern time zone.

       Any questions regarding this order may be directed to my law clerk, Jason Wiener, at
(202) 357-6360.

       IT IS SO ORDERED.
                                                   s/Christian J. Moran
                                                   Christian J. Moran
                                                   Special Master
